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United States Co
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Southern District of Texas
FILE DD

 

AQ 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)
UNITED STATES DiSTRICT COURT JUL 31 2029
for the .
David J. Bradley, Clerk of Court
Michael Palma )

—_

Plaintiff Petitioner

) Civil Action No. uf: 20@HC 2217

..
Harris County Appraisal District

Defendant Respondent )
Judge Christine Weems

APPLICATION TO PROG EED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

| am a plaintiff or petitioner in this case and declare that | am unable to pay the costs of these proceedings and
that | am entitled to the relief requested.

In support of this application, | answer the following questions under penalty of perjury:

1. [fincarcerated. | am bding held at:
If employed there. or have an account in the institution, | have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. | am also submitting a similar statement from any other institution where | was
incarcerated during the last six months.

2. Ifnot incarcerated. \f lam employed. my employer’s name and address are:

g 0.00

My gross pay or wages are: $ 0.00 . and my take-home pay or wages are: per

(specify pav period)

3. Other Income. In the past 12 months. | have received income from the following sources (check all that apply:

(a) Business, profession, or other self-employment | Yes No
(b) Rent payments. interest, or dividends TT Yes R) No
(c) Pension, annuity, or life insurance payments J Yes 4 No
(d) Disability, or worker’s compensation payments &@ Yes A No
(e) Gifts. or inheritances 7) Yes & No
(f) Any other sources OT Yes A No

if vou answered “Yes” ta any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future.

I receive State disability only. $663.50 / month
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AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaving Fees or Costs (Short Form)

 

g 23.00

4. Amount of money that [ have in cash or in a checking or savings account:

5. Any automobile, real estate. stock, bond, security, trust. jewelry. art work, or other financial instrument or
thing of value that | own, including any item of value held in someone else’s name (describe the property and its approximate
value}:

None

6. Any housing, transportation, utilities. or loan payments. or other regular monthly expenses describe and provide

the amount of the monthly expense}:

Utilities - average $250 / month
Food - average - 300 / month

7. Names (or, if under 18, initials only) of all persons who are dependent on me for support. my relationship
with each person. and how much I contribute to their support:

None

8. Any debts or financial obligations (describe the amounts owed und to whom they are payable):

IRS - roughly $50,000

Declaration: \ declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.

Date: 203 (a

Applicant's signature

bed) alos

Printed name
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AQ 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

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UNITED STATES DISTRICT COURT

for the

Michael Palma

Plaintiff Petitioner

Vv.
Harris County Appraisal District
Defendant Respondent
Judge Christine Weems

)
)
) Civil Action No.
)
)

Southern District of Texas
FILED

JUL 31 2020

David J. Bradley, Clerk of Court

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(specify pay period)

0.00

per

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(c) Pension, annuity, or life insurance payments O Yes
(d) Disability, or worker’s compensation payments @ Yes
(e) Gifts, or inheritances Yes
(f) Any other sources O Yes

8 No
RB) No
® No
O No
@ No
(A No

if you answered “Yes” to any question above, describe below or on separate pages each source of money and

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AQ 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

 

4. Amount of money that I have in cash or in a checking or savings account: $ 23.00

5. Any automobile, real estate. stock, bond, security, trust, jewelry. art work, or other financial instrument or
thing of value that | own, including any item of value held in someone else's name (describe the property and its approximate
value):

None

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